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    5
        Attorney for Defendants,
    6   JOY SM, Inc.
    7
                                UNITED STATES DISCTRICT COURT
    8
                               CENTRAL DISTRICT OF CALIFORNIA
    9

   10 ORLANDO GARCIA                                      )       Case No.: 2:20-cv-02475-JFW-MAAX
                                                          )
   11                                                     )       JUDGE: HON. JOHN F. WALTER
                                                          )
   12                                       Plaintiff. )          DEFENDANTS MOTION FOR
                                                          )       ATTORENY FEES
   13   vs.                                               )
                                                          )       DATE: MARCH 22, 2021
   14   JOY SM, Inc., and DOES a through 10, )                    TIME: 1:30 PM
                                                          )       ROOM: 7A
   15                                    Defendant, )
                                                          )
   16   ------------------------------------------------- )
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   12

   13                      b.     Plaintiff’s Motion was Unreasonable --------------------5-6
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    1                               TABLE OF AUTHORITIES
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    3

    4   CASES

    5   Mitchell v. City of Moore, Oklahoma
    6         218 F.3d 1190 ( 10th Cir 2000)----------------------------------------------------5

    7

    8

    9   STATUTES
   10
        42 U.S.C. Section 12205 -------------------------------------------------------------------5
   11

   12   28 U.S.C. Section 1367----------------------------------------------------------------------6
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    1                      I.    STATEMENT OF RELAVENT FACTS
    2
                      Plaintiff Orlando Garcia’s Motion for Summary Judgment was fi le d o n
    3

    4       Ja nua ry 2 5, 2 02 1 1. On February 1, 2021, Defendant filed its opposition to the

    5       Summary Judgment Motion. On February 8, 2021 Plaintiff filed its reply.
    6
                      On February 12, 2021 the court ordered (1) dismissing plaintiff’s
    7

    8       Americans with Disability Act claim; (2) declining to exercise supplemental

    9       jurisdiction over Plaintiff’s Unruh Civil Rights Act claim; and (3) denying
   10
            Plaintiff’s motion for summary judgment motion as moot 2
   11

   12                 On February 18, 2021 a meet and confer was held telephonically by
   13       counsel for each party. Defense counsel advised Plaintiff’s counsel, Mr. Price
   14
            of her intent to file a motion for attorney’s fees and emailed him a billing
   15

   16       statement. At the meet and confer, Plaintiff’s counsel became belligerent and
   17       demanded authorities under which Defendant is seeking attorney’s fees and
   18
            started arguing. Defendant’s counsel repeatedly told him the grounds for which
   19
   20       Defendant is seeking attorney’s fees was that Plaintiff insisted on filing a motion
   21       for summary judgment knowing his ADA claim was moot. Plaintiffs’ counsel
   22
            threatened to seek an attorney’s fees against Defendant for seeking attorney’s
   23

   24       fees. 3
   25                      II.   LEGAL STANDARD
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   27   1
          DOCKET NO. 34
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        2
          Docket No. 44
        3
          Decl Chong

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    3             The Americans with Disability Act allows a court, in its discretion, to award

    4   a prevailing party a reasonable attorney’s fees, including litigation expenses and
    5
        costs 4
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    7
                  Prevailing defendant can recover fees if the plaintiff’s claims were
    8
        groundless or without foundation. 5 Plaintiff’s further insistence on proceeding
    9

   10   with his ADA claims after they were clearly rendered moot, the Court finds the
   11
        lawsuit to be frivolous, unreasonable and groundless, subjecting Plaintiff to
   12
        payment of Defendant’s attorneys’ fees and costs.6
   13

   14             1. DEFENDANT IS A PREVAILING PARTY
   15
                  It is undisputed that Court’s order dismissing Plaintiff’s ADA claims as
   16
        well as Plaintiff’s motion for summary judgment established Defendant as a
   17
        prevailing party.
   18

   19
                  2. PLAINTIFFS INSISTENCE ON FILING MOTION FOR SUMMARY
   20                    JUDGEMENT IS UNREASONABLE
   21
                  Plaintiff was aware of the fact Defendant’s business was permanently
   22
                                                               7
        closed rendering his ADA claim moot.                       Once his ADA claim becomes moot,
   23
        Plaintiff was also aware the Court will highly unlikely to exercise supplement
   24
        jurisdiction over Plaintiffs second cause action , Unruh Civil Act claim. Plaintiff
   25

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        4
          42 USC 12205
        5
          Mitchell v. City of Moore, Okla., 218 F.3d 1190, 1203 (10th Cir. 2000 )
   28
        6
          id
        7
          plaintiffs’ Reply 7:22-8.1

                                                                   5
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    1   motion for summary judgment cannot survive without the court’s exercise of
    2   supplemental jurisdiction.
    3              The district courts may decline to exercise supplemental jurisdiction over a
    4   claim if:
    5              (1) The claim raises a novel or complex issue of State Law;
    6              (2) The claim substantially predominates over which district court has
    7                  original jurisdiction;
    8              (3) The district court has dismissed all claims over which it has original
    9                  jurisdiction; or
   10              (4) In exceptional circumstances, there are other compelling reasons for
   11                  declining jurisdiction 8
   12              Here, Plaintiff insisted on summary judgment motion under Unruh Civil
   13   Act in spite of knowing his ADA claim was moot. Plaintiff should have known a
   14   mootness of his ADA claims will render Court’s exercise of supplemental
   15   jurisdiction highly unlikely. Court, accordingly, has declined exercise
   16   supplemental jurisdiction rendering plaintiff’s motion for summary judgment
   17   moot.
   18               Plaintiff’s filing a motion for summary judgment under these circumstances
   19   was unreasonable and was designed only to harass defendant. Plaintiff knew
   20   Defendant was closing business due an economic loss they suffered from the
   21   pandemic. Plaintiff also was aware that defendant could not afford attorney fees to
   22   defend the motion or further litigation expenses         To defend Plaintiff’s motion for
   23   summary judgment defendant has incurred $8,050 9
   24

   25              III. CONCLUSION
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        8
            28 U.S.C. Section 1367 (c)
        9
            Decl. Chong Ex. A

                                                       6
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    1         For the forgoing reason, Defendant respectfully request that the court award
    2   Defendant attorney fees in the amount of $10,500 plus $60.80 for costs, a total of
    3   $10,560.80.
    4

    5

    6

    7   Respectfully submitted,
    8                             LAW OFFICES OF CHRISTINE CHONG
    9

   10   Dated: 2/26/2021          BY:_/s/ Chirstine Chong
   11                                   Christine Chong
   12                                   Attorney for Defendant,
                                        JOY SM, INC.
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